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PLAINTIFF DAVID L. JONES LIST OF PROPOSED EXHIBITS
FOR CIVIL ACTION AGAINST THE DEPARTMENT OF THE NAVY

Plaintiff David L. Jones, Formal EEO Complaint of Discrimination, Agency
Docket No. 02-61331-004, April 17, 2002.

Plaintiff David L. Jones, Request to Amend Complaint, Pursuant to C.F.R.
1614.108 (e) " Like or Related Issues Claims " Agency Docket No. DON-2-

6133 1-004, July 18, 2002.

EEO Counselors Report on David L. Jones, April 19, 2002.

Deputy Equal Employment Opportunity Officer, Notice of Receipt of
Discrimination Complaint of David L. Jones vs. Gordon R. England, Secretary of
the Navy, Docket No. DON 02-6133 1-004, April 17, 2004.

Plaintiff Sammy D. Barnes, et al vs. John H. Dalton, Secretary of the Navy,
Defendant, No. 94-50372-LAC, Notice of Video Tape Depositions, March 21,
1996, Class Action Complaint.

Plaintiff Sammy D. Barnes, et al vs. John H. Dalton, Secretary of the Navy,
Defendant, No. 94-50372-LAC, Order of Partial Dismissal, July 18, 1996.

EEOC/OFO Denial of Request for Reconsideration and Right to File a Civil
Action, September 9, 2004,

FILED
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EXHIBIT “F”
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— a (Agency Use only)
FORMAL COMPLAINT OF DISCRIMINATION AGENCY DOCKET NO.

OD 2~U133/-00

1. Name of Complainant 2. Are you being represented?
(Last, First, MD

Jones, Ofvwo L.

YES (If so, complete 2a-2c below)

LI no (Continue with Question No. 3)

la. Address (incl: City, State, Zip) 2a. Name of Representative

V7 Ls LL lang Ace. Teserh UY. Kap lars

PAN Am A Crty ) 14 3 2 YO) 2b. Address (incl: City, State, Zip)

(P90, VGLaen7 Avtwuc, iw, Soe ceo
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1b. Home Telephone (incl: area code) 2c. Work Telephone (incl: area code)
60 - J607-~ POTS Comm: &{d) A3sS— Siig

DSN:

3. Are you now working for the 3a. Name of Activity where you work
Department of the Navy?
rams Osmre
[U-YES (Complete 3a-3b) ConsTae. S4STEad 6 Ca Cre
3b. Street Address of your activity
L] no (Continue with Question No. 4) (incl: City, State, Zip)
023 wast AXGthny FF
_ _ Davibep O Brac 2. 2. 07-294 |

4. Present Job Title, Series and Grade:

Elecreel TEtHmanm  §C6-~ 4 § Lf [>
5. Name and address of Navy Activity you believe discriminated against you
(if different from 3a-3b) COAST. S ¥s»nr oS CC EFWITSt_
6702 Ww Mwy SP, PAnpwA Cit; ba TI
S2GO7 ~ 708 \

6. Date(s) on which most recent alleged discrimination occurred:

Month Ss Day (Cc Year 200%

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(Agency Use only)
AGENCY DOCKET No.

04. 4,/34/-00%

FORMAL COMPLATL. .. _F DISCRIMINATION

7. You believe you were discriminated against on the basis of your:
(Check below)

Race ~~ AGE

RACE (Ifso, state your race) Ol RELIGION (if so, state your religion)
AF RUG AméeéZletme

ae COLOR (If so, state your color) ql NATIONAL ORIGIN (If so, state origin)
OLA CLE

SEX AGE
U Male [

Female

Date of Birth /O-26- 40

DISABILITY (Please describe) O REPRISAL (If so, date and description
of prior protected activity)

Mental

Physical

ves

Name of - Date of Date of

Counselor: Ciwp e Ae Initial EEO Contact: 03/62 /o2 Final Interview: ote [6

9. EXPLAIN SPECIFICALLY HOW YOU WERE DISCRIMINATED AGAINST
(That is, treated differently from other employees or applicants, because of your race, color,
religion, sex, national origin, age, mental or physical disability, or reprisal.)

(if your complaint involves more than one allegation, list and number each allegation separately
and furnish specific, factual information in support of each.)

8. Have you discussed your complaint with an EEO Counselor? LI No

Allegation No. 1 (include basis(es) (See Question No. 7): . 0 Wome.
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FORMAL COMPLAL.. OF DISCRIMINATION AGENCY DOCKET NO.
2-4) 831-004

(If your complaint involves more than one allegation. State corrective action desired for each
separate allegation.) A FCCC Thap Prowehomy fe feed .

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G52 Axi Couperntiptia, POY.

WHAT SPECIFIC CORRECTIVE ACTION DO YOU WANT TAKEN ON YOLR COMPLAINT. AINT

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11. WITH REGARD TO THE ALLEGATIONS DESCRIBED IN Question No. 9, HAVE YOU:

LJ Filed a grievance through the negotiated grievance procedure? If so, date filed.

[LJ Filed an appeal with the Merit Systems Protection Board? If so, date filed.

L] Filed a civit action in U.S. District Court? Ef so, date filed.

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12. Signature of Complainant 13. Date Signed

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b. Typed qe ‘Tit

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c. Activity Name and Address: Received date

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d. Telephone (incl: area code)
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DEPARTMENT OF THE NAVY
COASTAL SYSTEMS STATION DAHLGREN DIVISION
DEPUTY EQUAL EMPLOYMENT OPPORTUNITY OFFICER
NAVAL SURFACE WARFARE CENTER
6703 WEST HIGHWAY 98
PANAMA CITY, FLORIDA 32407-7001

in the Matter of:

David L. Jones,
Complainant,

Gordon R. England, AGENCY CASE NO. DON; 61331-004

Secretary of the Navy,
DATE: July 18, 2002

Agency.

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COMPLAINANT'S REQUEST THAT THE DON EEOC OFFICE PURSUANT

TO 29 C.F.R. 1614.108(e) GRANT COMPLAINANT " LIKE OR

RELATED ISSUE CLAIMS APPROVED

COMES NOW the Complainant, David L. Jones and request that
the Agency grants his amended issues in accordance with 29 CFR
Section 1614.108(e).

This is to officially notify the Agency that the Complainant
is requesting to have his current Performance Evaluation be added
as an issue before the DOD CPMS/OCI investigator in the form of
Reprisal and Retaliation in promotions from July 20, 1971 to the
present. See EEO Counselors Report exhibit C.

The Complainant has requested the Agency EFO office to
approved Disparity in Treatment in Quality Salary Increases from

July 20, 1971 to the present.
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The Complainant is requesting that Offical Training be added as
an issue in this complaint. The Complainant is also requesting that
Sex (Male) be added as an issue as compared with another female
co-worker. The Complainant is requesting that Job Assignments be

added as an issue when compared with other co-workers.

The Complainant is requesting that the Agency authorized the
DOD EEO investigator to review any violations of 29 USC 201,
Promotion and Internal Placement of the Office of Personnel
Management rules and regulations. This should all GS-09 thur GS-12
Electronic Technicians Training and Promotions patterns. The
Complainant is requesting that an issue of hostile working
environment and whether the Agency is taking reprisal actions
against him for filing union grievance on other related issues

prior to this complaint.

The Complainant is requesting some disciplinary action if it
has been found that the Agency Supervisors and Human Resource
Office made any errors in assigning Promotions and Quality Salary
Increases. The Complainant also requests that the issue of agency
Credibility be added as an issue. Request new issues are approved.

Respectfully submitted this 18™ day of July 2002,

ye abede

Med pu es COLVIN
CO-REPRESENTATIVE

908 WILSON AVENUE

PANAMA CITY, FLORIDA 32402
904) 283-4285

FAX (904) 784-9387

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EEO COUNSELOR’S REPORT ON DAVID JONES

REQUIRED ELEMENTS
A. AGGRIEVED PERSON
Name: David Jones
Job Title/Series/Grade: Electronics Technician, GS-0856-11
Place of Employment: Coastal Systems Station,
Simulation Engineering Branch, Code E25
(this was branch he was in at time of alleged incident,

this changed under Reorganization effective April 1, 2002
to Systems Modeling and Simulation Branch, Code A84)

Work Phone No.: (850) 235-5116
Home Phone No: (850) 769-7095
Home Address: 717 Williams Avenue

Panama City, Florida 32401
Representative: Joseph V. Kaplan, Attorney
1090 Vermont Avenue, N.W. Suite 500
Washington, D.C. 20005
(202) 789-0100
B. CHRONOLOGY OF EEO COUNSELING
Date of Initial Contact: Mar 08, 2002

Date of Initial Interview: Mar 12, 2002

Date of Alleged
Discnmunatory Event: Mar 08, 2002

45" Day After Event: Apr 14, 2002
Reason for delayed contact beyond 45 days, if applicable: Not applicable
Date Counseling Report Requested: Apr 17, 2002

Date Counseling Report Submitted: Apr 19, 2002

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B. BASIS (ES) FOR ALLEGED DISCRIMINATION

] Race (Specify) African-American
] Color (Specify)

] National Origin (Specify)
]

]

]

Sex-(Specify)
Age (Date of Birth) 10-26-46
Mental Disability (Specify)

] Physical Disability (Specify)
} Religion (Specify)
} Reprisal (Identify earlier event and/or opposed practice, give date)

C. PRECISE DESCRIPTION OF THE ISSUE(S) COUNSELED

1. The complainant, David Jones, spoke with the Division Head of Code E20, Test &
Evaluation, Modeling and Simulation Division, John Auzins (Caucasian), on March
8, 2002 about how other Electronics Technicians had become a GS 12 within that
division by going through a process of promotion at a faster rate other than the
promotion process that the complainant had gone through at a slower rate, and that he
was at the GS 11 level even though he had been hired in before the other Electronics
Technicians and had acquired the position of Electronics Technician before they had.
John Auzins told the complainant that he should contact the EEO office. The
complainant alleges he has been discriminated against based on race (A frican-
American) and age (DOB 10-26-46, age 55) in that the Electronics Technicians that
have been promoted to the GS 12 level are not African-American and are younger
than he is. Complainant also alleges that there has been a pattern and practice at
Coastal Systems Station to promote Electronics Technicians (Series 856) and
Engineering Technicians (Senes 802) Technicians that are not African-American
while the African-American Technicians have not obtained a promotion at the same
rate.

D. REMEDY REQUESTED
1. To be promoted to GS12.

2. Backpay from the time the Division first started using the promotion process that
promoted Technicians that were not African-Americans to a GS 12 level.

E. EEO COUNSELOR’S NOTICE OF RIGHTS AND RESPONSIBILITIES — THE
COUNSELOR ADVISED THE AGGRIEVED PERSON IN WRITING OF THE
RIGHTS AND RESPONSIBILITIES CONTAINED IN THE NOTICE OF RIGHTS
AND RESPONSIBILITIES.

SUMMARY OF INFORMAL RESOLUTION ATTEMPTS

A. IF THE COUNSELOR ATTEMPTED RESOLUTION

007.

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1. Personal Contacts

a. David Jones CSS Simulation Engin. Branch
Electronics Technician Code E25 (now Systems Modeling &
Simulation Branch, A84)
(w) (850) 235-5116

The following is based on information provided by the complainant, David Jones (African-
American). Jones was hired at Coastal Systems Station (CSS) in 1971. Since he began working
at CSS he has always held some type of Electronics or Engineering position, which is considered
the Technical side at CSS. At the time of the initial interview on March 12, 2002 Jones was
employed as an Electronics Technician, GS-856-11 in the Simulation Engineering Branch, Code
E25. A copy was obtained of Jones’ SF50 which shows his last promotion to a GS 11 level in
March 1998, and of his Position Description. (See Exhibit A). Jones said that he began at CSS
as an Engineering Aid, GS-2, and has always been promoted through the positions that he has
held in Electronics or Engineering. He stated that other Electronics Technicians have gone
through another promotion process. Some of them start out in a Wage Grade position in the
Support side at CSS as a rigger, welder or laborer. They then come over to the Electronics
positions on the Technical side without any prior experience in the Technical side, and they have
been promoted at a faster rate than he has. Jones said that there has been a pattern and practice
for promoting employees that are not African-American and are primanly Caucasian into
positions on the Technical side. Since Jones began at CSS and up to the current time he has been
the only African-American Electronics Technician. Jones said that one year and six months after
he received a promotion to GS-11 that an African-American, Isaac Brown, was placed in a
Technicians position as a GS-11 from the Wage Grade side. Data was gathered by race and
grade of the Electronics and Engineering Technicians. (See Exhibit B). Jones said that his work
was always scrutinized so that he was performing at least at the level stated in his Position
Description. He has had to methodically go through the steps on the Technical side in order to
achieve promotions. Jones mentioned several employees that had held Wage Grade or non-
technical positions and had been promoted to Technicians and advanced without being required
to do the work or hold the positions on the Technical side before they advanced. On the other
hand, Jones said that at one point in his career in 1977 he held a position as an Engineering
Technician. They determined he was doing work as an Engineering Draftsman so he was
demoted in title and detailed to work as an Electronics Technician so that he could have the
experience doing the work before he was actually promoted to an Electronics Technician. He
specifically discussed three employees that were hired much later after him that had later
obtained Technician positions and had been promoted at a faster rate than he was. The three
employees were Ignacio Galarza (Hispanic, age 44), Michael McCants (Caucasian, age 53), and
Ann Naylor (Caucasian, age 45). Galarza and McCants had held Wage Grade positions prior to
becoming Electronics Technicians and Naylor had worked at one point as a Secretary in his
division. The CSS employment history of these employees and the employment history of Jones
was obtained from their Official Personnel Folders and set out in a document for comparison.
(See Exhibit C). The Position Description for these three employees 1s attached. (See Exhibits
D, E and F).

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At the time of the initial interview, Jones’ first-level supervisor was Scott Dorsch (Caucasian)
Branch Head. Dorsch was not in the office on March 8, 2002 when Jones went to discuss these
issues so Jones went to his second-level supervisor at that time, John Auzins (Caucasian),
Division Head of Code E20, Test & Evaluation, Modeling and Simulation Division. Jones
explained to Auzins that there had been a different promotion process used for some of the
employees and Jones showed Auzins personnel documents that he had regarding his own
promotions. Jones told Auzins that he wanted to go through the chain of command to look into
the different treatments of employees. Auzins later told Jones to go ahead and file an EEO
complaint.

Jones alleges that he has been discriminated against based on race (African-American) and age
(DOB 10-26-46, age 55) in that the Electronics Technicians that have been promoted to the GS
12 level are not African-American and are younger than he is. Data was also obtained on the
age, race, date of arrival at CSS, and last date of promotion of the Electronics Technicians. (See
Exhibit G). Jones also alleges that there has been a pattern and practice at Coastal Systems
Station to promote Electronics Technicians (Series 856) and Engineering Technicians (Series
802) that are not African-American at a faster rate and by a different process than the one that he
had to go through as the only African-American Electronics Technician.

Jones was aware that the Deputy Equal Employment Opportunity Officer, Irma Burden (A frican-
American), had met with Captain Fred Shutt (Caucasian), the Human Resources Director,
Richard Fowler (Caucasian), and the Executive Director, David Skinner (Caucasian), on
February 28, 2002 regarding the fact that there were no Technicians at the GS12 level that were
African-American. She was informed that in order to be considered for a promotion from a
GS11 to GS12 that the Technicians that were seeking that promotion (all African-American)
would have to have a desk audit. It had been explained that this policy requiring a desk audit for
those seeking a promotion to GS12 had been set up after a settlement between CSS and the union
in 1999 regarding overtime pay to GS12 Technicians. Data was obtained concerning any
Technician that had been promoted to the GS12 level since the 1999 settlement when the policy
requiring desk audits went into effect. (See Exhibit H).

Jones believes that at this point in time that he should not have to have a desk audit or present
information regarding the details of his work. He said that his personnel file shows the years of
experience and positions that he has held and that he had done work at a GS12 level when others
did not even hold a position as a Technician or were at a lower level, yet they were promoted at a
faster rate and some of them are at the GS12 level. Jones said that when Galarza testified during
the union complaint that the work that he said he was doing as a 12 is the same work that is in
the Position Description that Jones had as a GS6. Jones provided a copy of his Position
Description at the GS 6 level. (See Exhibit I). Jones said that he had received training in

Electronics on weapons in the Army and had also attended Gulf Coast Community College so
that he also had formalized training.

The reorganization that became effective on April 1, 2002 moved Jones from Code E25 to Code
A84, Systems Modeling & Simulation Branch. His first level supervisor is now John Brady and
his second level supervisor 1s Paul Pettofrezzo.

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b. John Auzins CSS Test & Evaluation, Modeling and
Division Head Code E20 Simulation Division

(now Test & Evaluation Division)
~ (850) 235-5057

John Auzins (Caucasian) met with me on March 20, 2002. He stated that he had been the
Division Head for about one year and had become familiar with Jones work for about nine
months. Roger Leete (Caucasian) had been the Division Head over Jones before that and Dennis
Wilson (Caucasian, now retired) also supervised Jones. Jones came to Auzins regarding what he
saw as the other track that promotes employees into a Technician GS 12. Auzins said that he had
not been familiar with it. Jones explained to him that riggers, welders and employees that had
worked in the mailroom had worked up and crossed over to the Technical side and were
promoted to a GS 12. Jones showed Auzins the Position Descriptions that he had. Auzins’
suggestions to him were to identify the jobs he was on, the complexity of his job, and his
performance ratings and to see Irma Burden, the Deputy EEO Officer.

Jones had told Auzins that most of the employees promoted on this other track were white. He
said that Jones was more concerned that it was the other track that could get them to a
promotion, but that Jones didn’t want to take anything away from these employees. Auzins
thought that this had to be looked at on a case by case basis. He said that some of those
employees may have gone through upward mobility programs and come from the Shops and
gone through a rapid accession as Technicians but that he wasn’t familiar enough with this track
to give any facts on it. When asked 1f there was any resolution he had to offer, Auzins said the
only resolution he might suggest would be for the EEO Office to gather information showing
how the other individuals that Jones had said had been promoted on the other track had gone that
route and to provide Jones with that information.

Auzins said that when he looks at whether an employee should be a 12 he asks: 1) is there room
or a need, and 2) is the work the employee is doing in his Position Description or outside of it.
When asked what he knew about desk audits, Auzins stated that desk audits began to come up
after the union settlement.

c. Gwen Hardee CSS Human Resources Division
Personnel Specialist Code XPP (850) 234-4712

Gwen Hardee (Caucasian) met with me on March 20, 2002. Hardee is a Personnel Specialist.
When asked whether a desk audit had been done on Robert Adkins (Caucasian), the only
Technician that had been promoted to GS12 after 1999, she indicated that it had not. She stated
that Robert Adkins’ supervisor should have information regarding the promotion.

C. Patrick Spring CSS Amphibious Craft &
Branch Head Code A4l USMC Branch

(850) 235-5621

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Patrick Spring (Caucasian) met with me on March 20, 2002. Spring said that desk audits were
not required for a Technician to get promoted to GS 12. He said that he was initially told that a
Technician couldn’t become a GS12 and the normal working level is an 11. He stated that he had
been told by the Division Head for his Code, Bob King, that the Department Head for Code A,
Jim Thompsen, said the requirement for a promotion to GS12 in A Department was whether the
employee had knowledge unique enough to warrant the individual being the only source of
information. He stated that there had to be something unique about their skills and not a lot of
GS12s are Technicians. Spring said that Adkins had expertise in the Hovercraft propulsion
system, and he was recognized by the fleet as an expert. He said that people come to Adkins for
work in that area. Spring stated that he prepared a memorandum regarding his recommendation
that Robert Adkins be promoted to a GS12. He provided this memorandum to personnel and to
the Department Head. (See Exhibit J). Adkins was promoted to GS12 on November 19, 2000.
(See Exhibit K).

d. Sandra Ringer . CSS Human Resources Division
Classification Specialist Code XPP (850) 235-5532

Sandra Ringer (Caucasian) met with me on March 20, 2002. Ringer is the Classification
Specialist in the Human Resources Office and has held that position at CSS since May 2001.
She provided information on how a Technician GS11 can be promoted to the GS-12 level. She
explained that a Technician is a journeyman and can only work up to the GS11 level: She said
that the classification standard of a GS12 Technician is actually the same standard used by the
Office of Personnel Management for the GS12 Professional Engineer. She said that a
Technician must have the ability to discuss and obtain information concerning their
understanding of controversial or little known theories and techniques. Ringer provided a copy
of the classification standards used for a GS11 Electronics and Engineering Technician and
GS12 Engineering and Electronics Technician. (See Exhibits L, M and N). She stated that when
a supervisor wants to recommend a Technician to be promoted to a GS12 that they are to come
to her.

é. Irma Burden CSS Human Resources Division if
Deputy EEO Officer Code XPP (850) 234-4710 is
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Irma Burden (Afmcan-American), the Deputy EEO Officer met with me on March 25, 2002. She q~

said that she had had a brief conversation with Jones’ Department Head, Steve Segrest. She

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stated that Segrest had indicated that if Jones had done work at the GS12 level that he would be § x
promoted to a GS12. al

£. Steve Segrest CSS Test & Evaluation Dept. V?
Department Head Code E (now Maritime Systems / Aut 2° (
Dept.) v “
(850) 234-4676 yc J
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ph:
Steve Segrest (Caucasian) spoke with me by phone on March 25, 2002 and indicated that he pee atte
would have to look at Jones duties and responsibilities to determine if he had actually been doing ee é zc
work at the GS12 level. He would also need to know what types of schools and training that he “tt we
mr &

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has gone to. He was under the impression that Jones hadn't taken the initiative to go to school or
get any training. Segrest said that if Jones was doing 12 level work then he would be promoted.
He said that we could meet after the information was gathered regarding Jones duties and
responsibilities.

g, Richard Fowler CSS Human Resources Division
Human Resources Director Code XPP (850) 234-4702

Richard Fowler (Caucasian) met with me on March 26, 2002. Fowler explained that prior to the
settlement in 1999 with the union that a manager had to simply certify that an employee was
doing the job in order to get them promoted to GS12. Dean Richards (Caucasian) was the
Classification Specialist during that time and he retired in December 2000. If a manager would
come to Richards he would advise them that it was difficult to get to GS12 from GS11 but the
Supervisor still had the authority to promote. The personnel office did not police the promotions
at that time. Fowler said that managers would promote employees to GS12 even though they
were not performing at that level just to get them promoted.

The union filed a complaint regarding the entitlement of GS12s to overtime, which was settled in
1999. Through the testimony that was taken during the investigation it was found out that the
Technicians weren’t performing at the level of the Classification Standards. Nothing surfaced
that the employees were being treated in a discriminatory manner, but they found that the
employees needed to be reclassified and their grade levels lowered. It was considered what to do
because there was a large number of employees that would be affected by this. It was decided by
the Executive Director, David Skinner, that they wouldn’t reclassify anyone but from that point
on no one could be promoted to a GS12 without justification. This could mean a desk audit.

Fowler had thought that a desk audit had been done on Robert Adkins pmior to his receiving a
promotion to GS12. He said if it hadn’t then there would have had to have been an Evaluation
Statement, something in his Position Description that would explain his unique expertise. A
copy of Adkins’ Position Description is attached. (See Exhibit K).

Fowler said that supervisors still have classification authority but that personnel, which is now
the Classification Specialist Sandra Ringer, has to police it when a request comes in to promote
to GS12. She has to look at whether that person 1s recognized in the industry as an expert. He
said the GS12 Technician is a quasi-professional position. If the employee is not recognized in
the industry as an expert then an audit has to be done of the position to look at whether their
work is consistent with classification standards for a GS12.

He stated that a request by management for a GS12 must be for either one of two reasons. One
reason would be because of additional duties and responsibilities. The example he gave is of a
Technician who has to travel around the world during the Gulf War and acquires skills as a result
ofthis. This would be promotion by accretion. The second reason would be a promotion by a
position that is created that is competed for.

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Fowler indicated that if Ringer determined that an employee did not qualify for a GS12 that it
was still possible that the employee would receive a GS12 if the supervisor was aggressive and
fought hard for the employee because the supervisor still has classification authority.

Fowler didn’t know the specifics on any employees that had become a Technician by coming
from a Wage Grade position but he thought that some had received formalized education. He
indicated that Galarza and McCants were both considered aggressive and would do whatever you
asked them to. He said they each had a good attitude.

h. Steve Segrest CSS Test & Evaluation Dept.
Department Head Code E (now Maritime Systems
Dept.) L
(850) 234-4676 ¢ o> .
. : my . ¥ ve
Steve Segrest met with me on Apmil 4, 2002. At the request of Segrest, John Auzins was also on
present at the meeting. The information that had been obtained regarding three of the employees \ AA

that Jones had referred to as shown in Exhibit C was presented to Segrest and Auzins for (As ie J
discussion. They were asked to provide information on how the three employees had obtained v k b
their positions. Segrest said that the good Wage Grade workers that had worked in his shop had Ak

been placed in other positions. He said that it may not seem fair but they had competed for the gl! At i
positions. . Er

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Segrest and Auzins both believed that Galarza and McCants worked at high levels as (~

Technicians and performed complex tasks. Auzins said that Jones always seemed to be with a
Senior Technician when he did the work. He said Jones became a GS11 while he worked for
Roger Leete and that his current supervisor, Scott Dorsch, could provide information on the work
he did. He stated that the complexity of the work an employee does may be similar but the role

that you play such as whether you are doing the work yourself or assisting others may be
different.

Auzins and Segrest thought that Jones worked hard. Auzins said Jones hadn’t been aggressive in
getting jobs, and that he had to have jobs fed to him. He said that someone else was giving Jones
the guidance in the work he did. He said that a GS11 may be an expert but they take the lead
from another person.

Copies of the training documents that Jones had provided were shown to Segrest and Auzins.
(See Exhibits O). Segrest said he couldn’t tell anything just by looking at them as to what type

of training that they were. He stated that for all he knew they were home correspondence
COUTSES.

They were asked about other Electronics Technicians at the GS12 level in Code E. (See Exhibit
G). During this time in the interview as this information was being provided, Segrest indicated
that he needed to attend another meeting and the interview was continued in another room with
Auzins. This is some of what was said about the other GS12 Electronic Technicians. George
Betz had experience in the Navy with the hovercraft and was the Liaison Manager at Eglin Air
Force Base. He had on his own initiative gotten support and approvals to look at the feasibility
of LCAC by using the Gatling Gun. They said he deais at a high level. Jesse Dickey is

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involved with signature testing and Magnetic/Pressure Testing. He gathers information and
passes it onto Engineers.

Auzins provided information on the two Electronic Technicians, James Infinger and Gene
Pippin, from Code E that are at the same grade level as Jones. (See Exhibit G). James Infinger
was Wage Grade at one time. He is excellent with electronics and works on a lot of classified
information. Gene Pippin works on his own and supports LCAC. He takes complex circuit
boards and diagnoses the failure. He then devises a program to override the failure.

Auzins thought that Jones Position Description reflects the differences in leadership quality. He
said he would need to take the lead and not request assistance every step of the way.

During the interview with Segrest he had indicated that they could not make a determination
whether Jones was performing as a GS12 level unless he were to look at the specific tasks that
Jones performed. Auzins suggested that the information be obtained from Dorsch.

i. Scott Dorsch CSS Simulation Engin. Branch
Branch Head Code E25 (now Systems Modeling &
Simulation Branch, A84)
(850) 235-5137

Scott Dorsch (Caucasian) met with me on April 8, 2002. John Auzins was also present at the
meeting per his request to be able to hear the information at the same time regarding Jones duties
and level of work. Dorsch explained that since 1998 that Jones and others were tasked to support
the facility. He said this involved working with cables, internet, and audio-visual. Jones was
doing the work and Mike McCants was the lead. McCants was the Lead Technician when

Dorsch began as Branch Head in 1994. Dorsch stated that McCants coordinates the work and
everyone comes to him.

Dorsch stated that Jones is working at the GS11 level. Dorsch said that in order for someone to

go from GS11 to GS12 that it would require someone that looks for more responsibility and is
more active in pursuing things.

In regards to the training that the Technicians receive Dorsch said that McCants will have
researched the area and come to him and say he wants to take it. He said that Jones will ask him
and then he will have to ask Jones to follow up. He said that he thought that McCants had gotten
certified in Fiber Optics. He thought he had suggested to Jones that he take a fiber optics course.
When shown Jones certificate in Fiber Optics training, Exhibit O-7, he said he wasn’t familiar
with it and it didn’t mean that Jones was certified in Fiber Optics. He said that he thought that
Jones was taking basic and low level courses on things that he could learn on the job or should

already know. He said that consideration has to be given to the courses because it can cost
$2000 to $3000 to attend one course.

Dorsch said that he has told Jones during performance appraisals that he needs to show initiative.
He said that he needs to go out and do things. A copy of Jones Performance Appraisal for 2000
and 2001 are attached. (See Exhibits P and Q). Dorsch said that Jones has shown initiative
during the last two weeks in a way that he hasn’t seen before in the work he is doing tearing
down wiring and coordinating the work in one of the buildings. He said that he would have to

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see more of this on a consistent level and in actually creating things rather than tearing them
down before he could see him showing GS12 level work.

It was indicated that Roger Leete would be able to provide information on Jones work prior to
Dorsch. Auzins also suggested that Michael McCants, the Lead Technician who works with
Jones, be interviewed.

1. Roger Leete CSS Test & Evaluation, Modeling
Department Manager Code E20 and Simulation Division
(850) 235-5137

Roger Leete (Caucasian) met with me on April 9, 2002. Leete said that he worked directly as the
Branch Head over Jones and McCants from 1992 to 1998. He stated that McCants was the
Senior Technician when Leete came to that branch in 1992. He said that McCants was always at
a higher grade level and he would take time to show Jones what was being done or how to do it.
He explained that McCants did wiring, cable running, circuit board assembly, assembled
electronic components, supported testing of equipment and maintenance and upkeep of
electronics in the building.

Leete is the one that promoted Jones to GS11. He said that Jones would tell you he didn’t need

any kind of leadership positions. He stated that Jones does good work but the skill level is not
the same. He said that in larger wiring projects that Jones’ work would need to be inspected and
checked and his work was more apt for something to be reworked He said that Jones never
brought up to him about any promotions.

As the branch head he knew that McCants and Jones each went to some form
year but it wasn’t necessarily the same one. He left it up to the individual. E

took Fiber Optics training. This was an area they were trained in when the b
kind of work.

There was a wiring project at Quantico that lasted four to five months. McC
would be doing the same thing on the project but McCants was the interface
and would leave a list for Jones. Jones would go down the list and work th

Leete said the leadership role for a Technician was at GS12 level. Jones is
—7 Technician and GS11 is appropriate for htm. A GS12 must demonstrate cl
personality that differentiates them.

He stated that Jones never expressed an interest for those kinds of opportt

hold of them when they’re there. He said that if Jones wanted to progress .

on responsibility for projects within the group by leading other people in the group. He...
would need a higher level of quality of work so that there was less rework. He would need to
show a vaniety of skills. He thought that McCants had passed a soldering certification and that
Ann Naylor had also but that Jones hadn’t. Leete said that McCants will go after work and find
work. Jones isn’t aggressive in that manner but he’ll do a good job. After the meeting with
Leete, a copy of the recommendation that was given by Lette for Jones to be promoted to GS10

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and the statements regarding Jones’ work during that time was found in Jones’ OPF but was not
presented to Leete for comment. (See Exhibit R).

Effective with the reorganization that took place on April 1, 2002 Leete is to be the Head of the
Coastal & Maritime Security Program Office, EO6.

j. Michael McCants CSS Simulation Engin. Branch
Electronics Technician Code E25 (now Systems Modeling &
Simulation Branch, A&4)
(850) 235-5188

Michael McCants (Caucasian) met with me on April 10, 2002. Jones had agreed to an extension
of the counseling period for five days in order to interview McCants and Clint Mayo. McCants
said that both Jones and he had received Electronics Training while in the military. Jones
received his training in the Army and he had to work with weapons. McCants training was in the
Marines. McCants said that their Code allows them to attend a school every year and that both
he and Jones have attended several schools. He stated that he listens to Jones as much as Jones
listens to him. He said their responsibility is to provide support for over sixty people. Jones will
do whatever you ask him to do and he is not aggressive as far as it being a negative thing.
McCants said that he has worked as the Lead so everyone comes to him as the Lead.

When Jones worked for Clint Mayo (African-American), McCants said that Jones wasn’t getting
promoted. He said that he went to Mayo because he thought that Jones should be promoted.
Mayo told him that Jones didn’t do work as a Lead Technician. McCants asked Mayo to give
Jones an opportunity to work as the Lead Technician on the P9 project. Jones worked on the
entire project as the Lead Technician and McCants said he was really motivated. McCants said
he took instruction from Jones on the project. He stated that it worked the first time they turned
‘ton. It was Jones success on this project that led to his receiving the promotion to GS9 from
Clint Mayo. McCants said that when Jones was a GS6 he was doing GS 12 level work all of the
time. McCants said there was a time when Jones was more motivated when he thought he had
opportunities.

McCants said that both Jones and he can do soldering. He thought that Jones had probably been
trained for this in the Marines. Both have attended a school on base for this. McCants stated
that Jones does not have more rework than anyone else. They will check each other’s work back
and forth and that is a good thing to do.

McCants explained that Carl Williams was a retired annuitant a few years ago. When he left, it
opened up a GS12 position in the Code he was in. Jones was in Clint Mayo’s Code and there
was no GS12 position in it. That’s when McCants got promoted to the GS12 level.

Jones has built interfaces, done soldering, integration of systems and understands Ohm’s law,
which McCants believes puts him at the GS12 level. He said that Jones and he work at the same
level. They both have to do the same thing. If he’s gone, Jones has to take on the load.

McCants believes that Jones has gone all these years without recognition of the level of his work.
He said that the level of the work required recently has decreased but through no fault of their

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own and only because of the work that is being requested from them but that Jones has
performed GS12 level work throughout the years. McCants said that Jones was doing GS12
level work when he was moved into McCants’ Code.

At one point Jones was teaching students that were studying to be Engineers how to solder and
wirewrap when they were working here. McCants said that a lot of things are self taught that
they do and then they go to school just to have the actual certification even though they’ ve
learned it on their own.

When they worked on the project at Quantico McCants would go for a few weeks and then Jones
would go for a few weeks. They were each working alone and doing the same work.

k. Clint Mayo CSS Coastal Initiatives Office
Manager Code DPC = (850) 234-4447

Clint Mayo (African-American) met with me on April 12, 2002. He said that he worked as the
Branch Head for the Assimilations Branch from 1988-1993. Mayo said that he thought that
Jones had not been given a lot of opportunity to do his work. Mayo explained that since it was a
matrix organization during that time that people would “body shop”. It was the project manager
that would select the people to work on his team. If they hadn’t worked with someone then they
wouldn’t get selected as often. .

He said that when Jones worked in his Code that people didn’t want to give him the work.
Mayo was told that the quality of Jones work wasn’t as good, but Mayo thought that the quality
of Jones’ work was good. Jones would work on whatever was given to him. Jones was paired
with McCants and this started providing him some jobs. He said that Jones might get a smaller
piece of the job but that it all had to work together.

Mayo said that McCants was a strong proponent for Jones getting work and for him getting a
promotion. There was a combination of things that Jones did dunng this time, which led to him
recommending Jones’ promotion to GS9. Mayo thought he had written up something that would
be in Jones’ personnel folder regarding this promotion. A later check in the OPF did not show a
copy of a written recommendation.

1. John Auzins CSS Test & Evaluation, Modeling and
Division Head Code E20 Simulation Division

(now Test & Evaluation Division)
(850) 235-5057

John Auzins was phoned on April 15, 2002 to provide him with information obtained from
McCants and Mayo to seek any resolution before the final interview was to be held with Jones.
Auzins said that Scott Dorsch was Jones’ current supervisor and was familiar with the work he
did as his supervisor now, and Dorsch had already indicated the level of Jones’ work. He
indicated that McCants view of Jones work was as cohorts and could be different. He offered no
resolution.

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Irma Burden met with me on April 16, 2002 to
promotion of Isaac Brown (African-American
from a Wage Grade position as a Wel
He had applied for the Engineering T

Irma Burden
Deputy EEO Officer

CSS
Code XPP

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Human Resources Division
(850) 234-4710

provide information in regards to the 2000

) to an Engineering Technician GS11 position
der. Burden said that Brown contacted her in July 2000.
echnician position and the person selected for the position

was a Caucasian contractor. Brown had been performing the tasks for that position. Burden had
met with the Captain at that time, Captain Duane Covert, and the Executive Director, David

Skinner. No informal EEO process was be
and the other employee in an Engineering

2. Documents Reviewed

Exhibit A

Exhibit B

Exhibit C

Exhibit D

Exhibit E

Exhibit F

Exhibit G

Exhibit H

Exhibit I

Exhibit J

Exhibit K

Exhibit L

Exhibit M

Exhibit N

Exhibit O

For ne ee 0 18° -

Breakdown by Grade and Race of all Electronics an
Techncians at CSS

Current Position Description of Ignacio Galarza

Current Position Description of Michael McCants

Current Position Description of Ann Naylor

Technicians Promoted to GS12 Since 1999

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gun. The matter was resolved by placing both Brown
Technician GS11 position.

SF50 and Position Description at GS11 of David Jones

d Engineering

Employment History of Jones, Galarza, McCants and Naylor

Data on all GS12 and GS11 Electronic Technicians at CSS

SF50 and Position Description at GS6 of David Jones
Memorandum regarding promotion of Robert Adkins

SF50 and Position Description at GS12 of Robert Adkins

OPM Classification Standard for GSi] Electronics Technician
OPM Classification Standard for GS11 Engineering Technician

OPM Classification Standard for GS12 Electronics and
Engineering Technician

Documents of Training Courses Taken by David Jones

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Exhibit P 2000 Performance Appraisal! for David Jones
Exhibit Q 2001 Performance Appraisal for David Jones
Exhibit R Memorandum regarding Promotion of David Jones to GS10
3. Summary of Informal Resolution Attempt
ADR was offered by the agency, CSS. The complainant, Jones, declined ADR and an inquiry

was conducted. Scott Dorsch, the first level supervisor, stated that Jones was performing at the
GSI} level and no resolution was offered by management.

Cindy Farr (850) 234-4538

EEO Counselor Telephone Number
(ide ANA 6703 W Hwy 98

Signature gf EEO Counselor Panama City, FL 32407-7001

April 19, Gs

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vei PARTMENT OF THE NAVY
COASTAL SYSTEMS STATION DAHLGREN DIVISION
NAVAL SURFACE WARFARE CENTER
6703 WEST HIGHWAY 98
PANAMA CITY FL 32407-7001

f IN REPLY REFER TO:
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Ser PC:dj02004
April 17, 2002

From: Deputy Equal Employment Opportunity Officer
To: Attorney for Mr. David L. Jones

Subj: NOTICE OF RECEIPT OF DISCRIMINATION COMPLAINT OF DAVID L. JONES

v. GORDON R. ENGLAND, SECRETARY OF THE NAVY, DOCKET NO. DON
02-61331-004

Ref: (a) Your discrimination complaint of April 17, 2002
Encl: (Ll) EEOC Hearing Request Form
1. This notice acknowledges receipt of reference (a) on April 17, 2002

2. As noted above, your complaint has been assigned agency docket
number DON 02-61331-004. Please include this docket number @n all
future correspondence or other documents regarding this complaint.

3. If your complaint is accepted, it will be investigated. The
Department of the Navy is required to conduct a complete and fair
investigation of the complaint within 180 days of the filing of

the complaint, unless the parties agree in writing to extend the
investigation. You will receive a copy of the investigative file and
have an opportunity to request an immediate final agency decision or a
hearing before an Equal Employment Opportunity Commission (EEOC)
Administrative Judge with a final agency decision.

4, If your complaint, or any allegation contained in it, is dismissed,
you will receive a written notice advising you of your appeal rights.

5. £ settlement of the complaint is reached, the terms of the
settlement will be stated, in writing, and you will be given a copy.

6. If settlement of the complaint is not reached, you have the right to
request a decision from the Secretary of the Navy, with or without a
hearing.

a. If you request a decision with a hearing, the hearing will be

conducted by an EEOC Administrative Judge. You must NOTIEY EEOC IN

WRITING (enclosure 1} WITHIN 30 CALENDAR DAYS AFTER RECEIVING THE
INVESTIGATIVE FILE, or

any time after 180 days have elapsed from the filing of your formal
complaint; you may request a hearing by submitting a written request,
directly to the EEOC Miami District Office by using the following:

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Subj: NOTICE OF RECEIPT OF DISCRIMINATION COMPLAINT OF DAVID L. JONES
vy. GORDON R. ENGLAND, SECRETARY OF THE NAVY, DOCKET NO. DON
02-61331-004

Equal Employment Opportunity Commission
Miami District Office

One Biscayne Tower
Two South Biscayne Boulevard
Miami, Florida 33131-1805

With a copy to:

Deputy EEO Officer

Coastal Systems Station

Code PC

6703 West Highway 98

Panama City, Florida 32407-7001.

b. If you request a decision by the Secretary of the Navy, YOU MUST
NOTIFY ME IN WRITING WITHIN 30 CALENDAR DAYS AFTER RECEIVING THE
INVESTIGATIVE FILE, so that this office can make the necessary
arrangements.

c. if, within 30 calendar days after your receipt of the
investigative file, you fail to request a final decision from the

Secretary of the Navy, with or without a hearing, a final Department of
the Navy decision will be issued.

7. If you are dissatisfied with the final Department of the Navy
decision, you may file a notice of appeal to the EEOC Office of Federal
Operations (OFO) within 30 calendar days after receiving the final
decision. The appeal should be submitted to the:

Director, Office of Federal Operations
Equal Employment Opportunity Commission
P.O. Box 19848

Washington, DC 20036

a. At the same time, you MUST furnish a copy of the appeal to the
Coastal Systems Station Equal Employment Opportunity Officer. In or
attached to the appeal to the Commission, you must certify the date and
method by which service was made on the Department of the Navy.

b. You may submit a brief or statement to support your appeal to
OFO within 30 calendar days after filing the notice of appeal. At the

same time, you must furnish a copy of the supporting brief or statement
to the Department of the Navy.

8. Instead of an appeal to the EEOC, you may file a civil action in an
appropriate U.S. District Court within 90 calendar days after receiving
the final Department of the Navy decision or, if the Department of the
Navy has not issued a final decision on your complaint, after 180
calendar days from the date the formal complaint was filed. If your
discrimination complaint is based on conduct that occurred prior to

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Subj: NOTICE OF RECEIPT OF DISCRIMINATION COMPLAINT OF DAVID L. JONES

v. GORDON R. ENGLAND, SECRETARY OF THE NAVY, DOCKET NO. DON
02-61331-004

November 21, 1991, you have 30 calendar days from your receipt of the
final Department of the Navy decision or, if a final decision has not
been issued, 180 calendar days from the date the formal complaint was
filed, in which to file a civil action in U.S. District Court. As to
any claim based on the Age Discrimination in Employment Act of 1967, as
amended (29 USC Section 633a), you MAY have up to 6 years after the
right of action first accrued regardless of whether the administrative
process is completed. See Lehman v. Nakshian, 453 U.S. 156 (1981); 29
USC Section 633a(f}; and 28 USC Section 2401(a). Filing a civil action
will result in termination of administrative processing of your
discrimination complaint on the same matters raised in the civil action.

9. I£ you file a civil action under Title VII of the Civil Rights Act
of 1964, as amended, or the Rehabilitation Act of 1973, as amended, and
you do not have, or are unable to obtain the services of a lawyer, you
may request the court to appoint a lawyer to represent you. In such
circumstances as the court may deem just, the court may appoint a lawyer
and may authorize the commencement of the action without the payment of
fees, costs, or security. Any such request must be made within the
above-referenced 90-calendar day time limit, or 30-calendar day time
limit, if appropriate, for filing suit and in such form and manner as
the court may require. Filing a request for an attorney does not extend
your time in which to file a civil action. Both the request and the
civil action must be filed within 930 calendar days or, if appropriate,
30 calendar days from the date you receive this decision.

10. You are further notified that if you file a civil action, you must
name Gordon R. England, Secretary of the Navy, as the defendant. You
must include the name of the person and the official title. Failure to

name Gordon R. England, Secretary of the Navy, may result in the loss of
any judicial redress you may be entitled to.

11. If you decide to appeal to the EEOC OFO, you will still have an
opportunity to file a civil action in a federal district court within 30
calendar days after receiving the EEOC's final decision, or 180 calendar

days after the date of your initial appeal to the Commission if the EEOC
has not rendered a final decision.

12. If you have further questions, please contact me on (850) 234-4710.

By Direction of
Commanding Officer

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the forging Notice of Receipt of
Discrimination Complaint of David L. Jones. v. Gordon R. England,
Secretary of Navy, DON no. 02-61331-004 was sent by registered
mail on April 18, 2002 to:

Joseph J. Kaplan
1090 Vermont Avenue NW Suite 500
Washington, DC 20005

Mr. David L. Jones
717 Williams Avenue
Panama City, Fh 32401

Deputy EEO Officer

Coastal Systems Station

6703 West Highway 98 .
Panama City, Florida 32407-7001
(850) 234-4710

Fax: (850) 235-5922

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A. Received by (Please Print Clearly) |B. Date of Detivery

1. Article Add item 4 if Restricted. Delivery is desired. At f-
Mm Print your name and address on the reverse LUAvrp é. eve SF f LA oF
DAVID So that we can return the card to you. C. Signattire Oe
747 WI. ™ Attach this card to the back of the mailpiece, x / A f. a neo
or on the front if space permits. . , dresses
PANAMA D. Is delivery address different fram item #* CI Yes
1. Article Addressed to:

Hf YES, enter delivery address below: 9 |
DAVID L. JONES |
717 WILLIAMS AVENUE

PANAMA CITY, FLORIDA 32401

3. Service Type

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2. Article Nur fi Certified Mai 1 Express Mail
(Transfer fre C) Registered C7 Return Receipt for Merchandise
PSF 38 C] Insured Mait O c.0.D. '
orm
. 4. Restricted Delivery? (Extra Fee) 0 Yes:

2. Article Number
(Transfer trom service label) 7001 0360 0000 8064 2906 (EEO/XPP/d1jnor)

PS Form 3811, March 2001 Domestic Return Receipt

102595-01-M- 1424
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Case 5:04-cv-00415-RS-WCS Document 1-2 Filed 12/07/04 Page 31 of 52
Case 5:04-cv-00415-RS-WCS Document 1-2 Filed 12/07/04 Page 32 of 52

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF FLORIDA
PANAMA CITY DIVISION
SAMMY D. BARNES, et al.,
Plaintiffs

v. Case No. 94-50372 LAC

JOHN H. DALTON,
Secretary of the Navy,

efendant. , - ‘ ff -~ 00

NOTICE OF VIDEO TAPE DEPOSITIONS

TO: Sadie Moore Stewart, Esq.
2112 Lewis Turner Blvd
Fort Walton Beach, FL 32548

PLEASE TAKE NOTICE that pursuant to Rule 30, Federal
Rules of Civil Procedure, the video-tape depositions of:
DEPONENTS : Irvin T. Houston, 1 Apr 96, 8:00 am
Abraham B. Boone, 1 Apr 96, 9:40 am
Terry Flowers, 1 Apr 96, 11:20 am
David Jones, 1 Apr 96, 1:10 pm
Mary Jones, 1 Apr 396, 2:50 pm
Robert Jones, 1 Apr 96, 4:30 pm
Johnnie Williams, Jr., 1 Apr 96, 6:10 pm

Drayton Bass, Jr., 2 Apr 96, 8:00 am
Billie L. Humose, 2 Apr 96, $:40 am

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Case 5:04-cv-00415-RS-WCS Document 1-2 Filed 12/07/04 Page 33 of 52

.

(10) Arthur Jeffreys, Jr., 2 Apr 96, 11:20 am
(11) Larry Foster, 2 Apr 96, 1:10 pm

(12) Thomas D. Wazlavek, 2 Apr 96, 2:50 pm
(13) Lemuel (David) Glover, 2 Apr 96, 4:30 pm
14) Arthur Shazier, 2 Apr 96, 6:10 pm

15) Leroy Manigualt, 3 Apr 36, 8:00 am
Brenda McNair, 3 Apr 96, 9:40 am

17) William H. Newell, Jr., 3 Apr 96, 11:20am

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(18) Calvin W. Reynolds, 3 Apr 96, 1:10 pm
(19) Zeinford Scott, 3 Apr 96, 2:50 pm
(20) Gary Scott, 3 Apr 96, 4:30 pm
(21) Columbus Smith, Jr., 3 Apr 96, 6:10 pm
(22) Fred-Houston, 4 Apr 96, 8:00 am
{23) Gloria D. Smith, 4 Apr 96, 9:40 am
(24) Robert L. Smith, 4 Apr 36, 11:20 am
(25) J. C. Tolson, 4 Apr 96, 1:10 pm
DATES: Monday, April 1 1996 through Friday, April 5, 1996
PLACE: Training & Education Building

Bldg. 389, Classroom Cc

Coastal Systems Station

W. Highway 98

Panama City, Florida

Telephone (904) 235-5786
will be taken upon oral examination before a Court Reporter,
or a Notary Public in and for the State of Florida at Large,
or some other officer duly authorized by law to take
depositions. These depositions are being taken for the
purpose of discovery, for use at trial, or both of the

foregoing, or for such other purposes as are permitted under

the applicable and governing rules.
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PLEASE TAKE NOTICE that each deponent is directed to
bring with him or her and produce for inspection and copying
at the time of the deposition any and all documents,
memoranda, notes, reports, diaries, things, and computer
disks in his or her possession or under his or her control
related in any way to this action including, but not limited
to, the following:

(1) amy personnel file, wherever maintained;

departmental file, wherever maintained;

(2) any and all EEO complaints, wherever maintained;

(3) any and all MSPB complaints, wherever maintained;

(4) any and all union grievances, wherever maintained;

(5) any and all offers of employment; applications for
employment; terms conditions, and benefits of employment;
employment contracts, if any, and/or amendments thereto;
evaluations of job performance; job assignments; job
requirements; benefits statements; insurance related
documents; rates of pay; job title or job status; resumes or
Forms SF-171; complaints about job or work performance;

formal or informal complaints; any documents pertaining to

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any investigation concerning or relating to each plaintiff;
and

(6) any and all documents wherever maintained,
including but not limited to, notes, papers, transcripts,
files, diaries, notebooks, computer disks, video tapes,
recordings and/or writings which relate to, pertain to, or
refer to or support any of the allegations in the complaint

in this matter.

Respectfully submitted,

P. MICHAEL PATTERSON
United States Attorney

PAMELA A. MOINE
Assistant U.S. Attorney
Florida Bar No. 58810
114 E. Gregory Street
Pensacola, FL 32501-4972
(904) 434-3251

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CERTIFICATE OF SERVICE
wee ee OF SERVICE

I HEREBY CERTIFY that a COpy of the foregoing notice

has been furnished by certified MAA el eturn receipt

requested to SADIF MOORE STEWART, 2112 Lewis Turner Blvd.,

se
Suite 4, Port Walton Beach, Florida 32548, this ) | day of

March 1996.

PAMELA A. MOINE
Assistant U.S. Attorney

cc: AAA Court Reporters
205 East 4th
Panama City, PL 32413
904/785-0057

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Case 5:04-cv-00415-RS-WCS Document 1-2 Filed 12/07/04 Page 37 of sb
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UNITED STATES DISTRICT COURT
NORTHERN DISTRIcT oF FLORIDA
PANAMA cITy DIVISION

SAMMY D. BARNES, et al.,
Plaintiff,
v. CIVIL ACTION no. 94=-50372-Lac

JOHN DALTON, Secretary of
the Navy,

Defendant,

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ORDER OF PARTIAL DISMISSAL

This is a class action employment discrimination suit. The
defendant moves for dismissal, or in the alternative, for sunmary
judoment on all class allegations, (doc. 44). By order dated May
3, 19395 (aoc. 85), the court advised the Parties it would treat the
motion as one for Summary judgment, For the reasons below, the

CS“LEe grants the motion and dismisses al] class allegations on the

Ir, Backcround

Plaintiffs Sammy D. Barnes, Ray C. Dunklin ana James Cox filed
SRis Title vrtr suit on behalf Of all black employees of Naval

Coastal Systems Station, Dahlgren Division, in Panama City,

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Case 5:04-cv-00415-RS-WCS Document 1-2 Filed 12/07/04 Page 39 of 52

Florida. The complaint alleges the defendant ("the Navy")
discriminates against black employees in the areas of training
opportunities, promotions, performance appraisals, incentive
awards, and disciplinary actions. Plaintiffs seek $90 million in

damages. This motion followed.

II. Motion for Summary Judgment

The Navy argues summary judgment should be entered in its
favor on all class allegations because the plaintiffs failed to
follow the procedural requirements for filing a Title VII class
action. At the outset, the court notes summary judgment motions
can be granted only when "the pleadings, depositions, answers to
interrogatories and admissions on file, together with the
aifidavits, if any, show that there is no genuine issue of material
=act and that the moving party is entitled to summary judgment as

a matter of law." Fed.R.Civ.pP. 56(c); Celotex corn, v. Catrett,

477 U.S. 317, 322, 106 S.ct. 2548, 91 L.Ed.2d 265 (1986); Everett
vy. Napper, 833 F.2d 1507, 1510 (11th Cir. 1987). An issue of fact
is "genuine" if the record as a whole could lead a rational trier
of fact to find for the nonmoving party. Anderson v. Liberty

Lesev, iInc., 477 U.S. 242, 248, 106 §.Ct. 2505, 91 L.Ed.2da 202

(1986). An issue is "material" if it might affect the outcome of
tne case under the governing law. Id. [In ruling on a motion for
summary judgement, the court must take the evidence in a light most

favorable to the nonmoving party. Griesel v. Hamlin, 963 F.2d 338,

341 (llth Cir. 1992). With this standard in mind, the court agrees
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Summary judgment is appropriate.

To maintain a Title VII class action, the plaintiffs must
satisfy two prerequisites. First, they must identify an individual
class agent with a cognizable claim; in other words, the class
agent must have constitutional standing to raise the claim(s), and
he or she must have satisfied Title VII‘s procedural requirements.

Griffin v. Dugger, 323 F.2d 1476, 1482 (lith Cir. 1987), cert.

Genied, 486 U.S. 1005, 108 S.Ct. 1729, 100 L.Ed.2d 193 (1988),
Second, the suit must satisfy the requirements of Federal Rule of
Civil Procedure 23; that is, the class agent must be qualified to
represent the class in accordance with the four prerequisites of
Rule 23(a) and the action must be one of the three types identified
in Rule 23(b). Id.

The Navy attacks the first of these prerequisites.
Specifically, it contends the plaintiffs have not identified ‘an
individual class agent who has complied with Title VII‘’s procedural
requirements. In federal sector cases such as this one, Title VII
plaintiffs must follow the procedures outlined in 42 U.S.C. §
2200e-16 and 29 C.P.R. § 1614.101, et seq. Under these provisions,
plaintiffs may not file suit in federal court until they have first
exnausted their administrative remedies within the agency that has

allegedly discriminated against them. Grier v. Secretary of the

Azmy, 799 F.2d 721, 724 (11th cir. 1986). "This requirement is not
a vechnicality; ‘’rather, it is part and Parcel of the congressional
design to vest in the federal agencies and officials engaged in

hiring and promoting bersonnel ‘primary responsibility’ for

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maintaining nondiscrimination in employment.’" fa. (quoting Kizas

v. Webster, 707 F.2d 524, 544 (D.C. Cir. 1983)).

fccordingly, a federal employee who believes he or she is a
victim of discrimination must first -contact the agency's EEO
counselor "in order to try to informally resolve the matter." 29
C.F.R. § 1614.105(a). Such contact must be initiated within forty-
five days of the matter alleged”to be discriminatory. 29 C.F.R. §
1€14.105(a2) (1). jf the matter is not resolved within thirty days
after the employer first contacts the counselor, the counselor must
inform the employee of his her right to Continue the administrative
process. 29 C.F.R. § 1614.105(d).

Thereafter, the employee may file a formal complaint with the
agency. 29 C.F.R. § 1614.106(a). The agency then has 180 days to
investigate the complaint, after which, it must give the
investigation file to the employee. 29 C.F.R. § 1614.108(f). The
employee may then request either (1) immediate final agency
decision, or (2) a hearing before an administrative judge. 29
C.F.R. § 1614.108(f). Under either approach, an employer who is
dissatisfied with the eventual agency decision may appeal to the
EEOC or file suit in federal district court. 29 U.S.C. § 1614.408,

An employee seeking to advance a class action must take the
acded step of filing a formal class action complaint with the
égency and follow the procedures set forth in 29 C.F.R. § 1614.204.,

see Gulley v. Orr, 905 F.2d 1383, 1384 (10th Cir, 1990) (noting

that administrative precedures for class claims are "markedly

different" from those for individual Claims). If the class agent

els
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fails to exhaust his or her class remedies, the district court
cannot entertain the suit; exhaustion of individual remedies is not
enough. Id. at 1385.

In this case, the facts reveal only one of the class agents
filed a formal class complaint: Sammy Barnes. On March 14, 1994,
he met with an EEO counselor to register an informal complaint
regarding the Navy’s failure to promote him to Inventory Management
Scecialist on November 20, 1992. After completing the informal
counseling process, Barnes filed a formal complaint on May 10,
1394. A month later, he filed a clarification to the complaint,
Stating: "The kind of complaint being file(d] is a class action."

As the record makes clear, however, Barnes did not initiate
contact with his EEO counselor within 45 days of the matter alleged
<9 be discriminatory, as required by 29 C.F.R. § 1614.204(a)(3) and
239 C.F.R. § 1614.105(a)(1). Instead, he waited 441 days before he
consulted anyone regarding the November 1992 promotion.
Consequently, Barnes’ complaint is time-barred unless the court

finds reason to equitably toll the filing period. See Pacheco v.

Rice, 966 F.2d 904, 906 (Sth Cir, 1992) (failure to timely consult

EEO counselor bars _Claim absent waiver, estoppel or equitable
tolling).

The Navy argues no such reasons exist. Because the plaintiffs
bear the burden to prove equitable tolling at trial, the Navy need
not affirmatively negate or disprove the issue to prevail at

summary judgment. See Fitzpatrick v. city of Atlanta, 2 F.3d 1112,

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1115-16 (11th Cir. 1993) (discussing burdens of proof at summary
judgment}. Instead, the Navy need only "affirmatively show" a lack
of record evidence to indicate the filing period should be tolled.
id. The Navy has met that burden here.

To survive summary judgment, therefore, the plaintiffs must
point to some evidence ignored by the Navy or come forward with
additional evidence to demonstrate a genuine issue of fact exists
cn the tolling issue. Id. at 1116-17. Plaintiffs have failed to
meet this burden, despite the fact the court gave them extra time
to do so. See doc. 85. Additionally, the court has reviewed the
file independently and finds no admissible evidence indicating the
Siling period should be equitably tolled. Accordingly, Barnes’
complaint is time-barred as a matter of law and, consequently, so
are the plaintiffs’ class action claims. Those claims will be

dismissed on the merits.

iII. Motion to Strike

In the alternative, the court grants the Navy’s motion to
strike the class allegations (doc. 89) based on failure to comply
with local rules and inadequacy of class representation. Local
Rule 23.1 sets forth specific requirements for maintaining class
action lawsuits in this court. First, the complaint itself must

contain a separate section titled "Class Action Allegations," which

contains "detailed allegations of fact Showing the existence of the

several prerequisites to a class action as enumerated in

Fed.R.Civ.P.23(a) and (b)." N.D.Fla.Loc.R, 23.1{A) (emphasis
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added). Plaintiffs’ complaint does not contain the required
separate heading. Moreover, the complaint contains no factual
allegations as to Rule 23’s requirements despite the fact the
plaintiffs have filed three separate complaints with the court.

The local rule also requires class action plaintiffs to move
for class certification "within ninety (90) days after the filing
of the complaint." N.D.Fla.Loc.R. 23.1(B). Plaintiffs filed their
original complaint on November 29, 1994. They did not move for
class certification, however, until March 24, 1995--116 days after
the complaint was filed. The court denie@ the motion because it
had already dismissed the complaint for separate pleading defects.
See doc. 16. However, the court allowed plaintiffs leave to amend
and instructed, "[u]pon filing their amended complaint ..,
Plaintifis can renew this motion...." Plaintiffs thereafter filed
an amenced complaint on May 22, 1995 (doc. 17) and a second amended
complaint on August 23, 1995 (doc, 24). However, they never
renewed their motion for class certification.

Local Rule 23.1 was designed to help the court manage class
action suits in an orderly and efficient Manner. Failure to comply

with it warrants dismissal of the class allegations. See Coffin v.

Secretary cf Health, Fd. and Welfare, 400 F.Supp. 953, 956 (D.D.C.

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; Walker v. Columbia Univ., 62 F.R.D. 63, 64 (S.D. N.Y. 1973);

see also Coon v. Georgia Pacific Corp., 829 F.2d 1563, 1564 (11th
Cir. 1987) (affirming denial of class certification partly because
Plaintiffs failed to file timely motion for class certification).

Moreover, Plaintiffs’ failure to comply with the local rule

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reflects poorly on their adequacy to represent the proposed class.
A trial court has a special duty in class actions to supervise the
litigation and safeguard the rights of absent class members.

Guerine v. J&W Investment, Inc., 544 F.2d 863, 864 (5th Cir. 1977).

Thus, a court should strike class allegations or deny class
certification if it determine the class agents and/or their.
attorneys cannot provide adequate representation. id.;
Fed.R.Civ.P. 23(c) (4). Failure to move for class certification in

a timely fashion is strong evidence of inadequate representation.

East Texas Motor Freight System Inc. v. Rodriquez, 431 U.S. 395,

405, 97 S.Ct. 1891, 52 L.Ed.2a@ 453 (1977); see also Gaston v.

Caingun County Bd. of Fd., 88 F.R.D. 356, 358 (N.D. Miss. 1980);

Flora v. Moore, 78 F.R.D. 358, 361 (N.D. Miss. 1978); Walker, 62

hy

-2.D. at 64. Based on the plaintiffs’ failure to move for class
certification, their failure to seek an extension of time to file
such a motion, their failure to comply with other requirements of
Local Rule 23.1, and their failure to respond to other matters in
the lawsuit, the court finds the plaintiffs cannot adequately
represent the class for Rule 23 purposes. For this reason as well,
the class allegations will be dismissed.

IV. Individual Claims

Having resolved the class issues, the court now turns to the
plaintiffs’ individual discrimination claims. The Navy has filed
motions to dismiss and/or for summary Judgment on all such claims.

ee docs. 44 & 80. The parties are hereby advised that the court

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will treat these motions as ones for summary judgment.
Accordingly, Plaintiffs shall have until August 1, 1996 to submit
any additional affidavits, documents or materials authorized to be
filed under the Federal Rules of Civil Procedure which they wish

the court to consider. See Griffith v. Wainwright, 772 F.2d 822

(llth Cir. 1985). These motions for summary judgment will result
in final judgment being entered for the moving party, if the
pleadings, depositions, answers to interrogatories, admissions,
affidavits, and any other appropriate evidentiary materials
properly filed in the record show that there is no genuine issue as
to any material fact and that the moving party is entitled to a

judgment as a matter of law. Fed.R.Civ.P. 56.

Vv. Conclusion
Accordingly, it is hereby ORDERED:

1. The Navy’s motion for summary judgment on the plaintiffs’
class allegations (doc. 44) is GRANTED.

2. In the alternative, the Navy’s motion to strike the class
allegations (doc. 89) is GRANTED.

3. The plaintiffs’ class action allegations are dismissed on
the merits. This case shall proceed on the plaintiffs’
individual claims only.

ORDERED on this | oon day of July, 1996.

AOA

Lacey A. Collier
U.S. District Judge

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Case 5:04-cv-00415-RS-WCS Document 1-2 Filed 12/07/04 Page 48 of 52

U.S. EQUAL EMPLOYMENT OPPORTUNITY CUMMISSION
Office of Federal Operations
P.O. Box 19848
Washington, D.C. 20036

David L. Jones,
Complainant,

Y.

Gordon R. England,
Secretary,
Department of the Navy,
Agency.

Request No. 05441142

Appeal No. 01443030
Agency No. 0261331004
Hearing No. 150-A3-8077X

DENIAL OF REQUEST FOR RECONSIDERATION

David L. Jones (complainant) timely initiated a request to the Equal Employment Opportunity
Commission (EEOC or Commission) to reconsider the decision in David L. Jones v. Department
of the Navy, EEOC Appeal No. 01443030 (July 7, 2004). EEOC Regulations provide that the
Commission may, in its discretion, reconsider any previous Commission decision where the
requesting party demonstrates that: (1) the appellate decision involved a clearly erroneous
interpretation of material fact or law; or (2) the appellate decision will have a substantial impact
on the policies, practices, or operations of the agency. See 29 C.F.R. § 1614.405(b).

In the underlying complaint, complainant contended that he was discriminated against on the bases
of race (African American), sex (male), age (DOB: 10/26/46), and in reprisal for prior EEO
activity in violation of Title VII of the Civil Rights Act of 1964 (Title VI), as amended, 42
U.S.C. § 2000e er seq., and the Age Discrimination in Employment Act of 1967 (ADEA), as
amended, 29 U.S.C. § 621 ef seq., when:

(1) on February 26, 2002, the agency’s Human Resources Director informed him that
the process for promotion to the GS-12 grade level required a desk audit; and,

(2) on March 8, 2002, his Division Head denied his request for promotion to the GS-
12 grade level and told him to contact the agency’s EEO Office.

On June 30, 2003, complainant filed a motion to withdraw his request for a hearing before an
EEOC Administrative Judge (AJ). On July 30, 2003, the AJ forwarded the complaint file to the
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agency and requested that the agency issue a final agency decision (FAD). On March 3, 2004,
the agency issued a FAD finding that complainant failed to prove by the preponderance of the
evidence that he had been discriminated against and our prior appellate decision affirmed this
finding. In his request for reconsideration, complainant essentially repeats the arguments
presented on appeal and contends that, insofar as the Commission’s prior decision found such
arguments to be unpersuasive, the prior decision contained clearly erroneous interpretations of fact

and law.

After a review of complainant's request for reconsideration, the previous decision, and the entire
record, the Commission finds that the request fails to meet the criteria of 29 C.F.R.
§ 1614.405(b), and it is the decision of the Commission to deny the request. In reaching this
conclusion, we note that complainant fails to demonstrate that our prior decision involved a clearly
erroneous interpretation of material fact or law, or will have a substantial impact on the policies,
practices or operations of the agency. Based on the foregoing, the decision in EEOC Appeal No.
01A43030 remains the Commission’s final decision. There is no further right of administrative
appeal on the decision of the Commission on this request for reconsideration.

COMPLAINANT'S RIGHT TO FILE A CIVIL ACTION (P0900)

This decision of the Commission is final, and there is no further right of administrative appeal
from the Commission's decision. You have the right to file a civil action in an appropriate United
States District Court within ninety (90) calendar days from the date that you receive this
decision. If you file a civil action, you must name as the defendant in the complaint the person
who is the official agency head or department head, identifying that person by his or her full name
and official title. Failure to do so may result in the dismissal of your case in court. "Agency"
or "department" means the national organization, and not the local office, facility or department
in which you work.

RIGHT TO REQUEST COUNSEL (21199)

If you decide to file a civil action, and if you do not have or cannot afford the services of an
attorney, you may request that the Court appoint an attorney to represent you and that the Court
permit you to file the action without payment of fees, costs, or other security. See Title VII of
the Civil Rights Act of 1964, as amended, 42 U.S.C. § 2000e ef seq.; the Rehabilitation Act of
1973, as amended, 29 U.S.C. §§ 791, 794(c). The grant or denial of the request is within the
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sole discretion of the Court. Filing a request for an attorney does not extend your time in which
to file a civil action. Both the request and the civil action must be filed within the time limits as
stated in the paragraph above ("Right to File A Civil Action").

FOR THE COMMISSION:

Cub Vl Maden

Carlton M. Hadden, Director
Office of Federal Operations

SEP - 9 2004

Date

CERTIFICATE OF MAILING

For timeliness purposes, the Commission will presume that this decision was received within
five (5) calendar days after it was mailed. I certify that this decision was mailed to
complainant, complainant's representative (if applicable), and the agency on:

SEP - 9 2004
Date

A Lobo

Equal Opportunity Assistant

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PRIVATE |
EQUAL EMPLOYMENT OPPORTUNITY COMMISSION 08” $209
OFFICE OF FEDERAL OPERATIONS METER
WASHINGTON, D.C. 20036 a tel
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, Reference # 05A41142 M
2 7 ¢ 5 Andrew L Colvin
908 Wilson Ave

Panama City, FL 32401-2962

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